   Case: 1:16-cv-00095-DMB-DAS Doc #: 288 Filed: 09/28/22 1 of 1 PageID #: 4543




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION

                                          Civil Minutes

Case No:    1:16-cv-95-DMB-DAS                                                          Place Held:
                                                                                  Judge’s Chambers
                                                                                     Teleconference
Style:   Geiger et al v. Monroe County, Mississippi et al



Date: September 28, 2022

Total Time: 10 min.

PRESENT:                              David A. Sanders      United States Magistrate Judge


                                      Jennifer Frantz       Courtroom Deputy
ATTORNEY PRESENT

FOR PLAINTIFF(S)                                            FOR DEFENDANT(S)

Jim Waide                                                   Danny Griffith
Rachel Waide                                                Jamie Lee
                                                            Bethany Tarpley


PROCEEDINGS: Telephonic Status Conference.
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Docket Entry: Conference held. Parties notified court of settlement.



                                                    DAVID CREWS, CLERK

                                                    By:     /s/ Jennifer Frantz
                                                            Courtroom Deputy
